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 7
     Attorneys for Defendant, WILMINGTON SAVINGS FUND SOCIETY, FSB,
 8   d/b/a CHRISTIANA TRUST, NOT INDIVIDUALLY BUT AS TRUSTEE FOR
 9   HILLDALE TRUST
10
11                       UNITED STATED DISTRICT COURT
12                    NORTHERN DISTRICT OF CALIFORNIA
13
     KEYHAN MOHANNA,                           Case No.: 4:21-cv-03557-KAW
14
     INDIVIDUALLY AND KEYHAN
15   MOHANNA, TRUSTEE OF THE                   Magistrate Judge Kandis A. Westmore
16   KEYHAN MOHANNA
     REVOCABLE TRUST DATED                     NOTICE OF MOTION AND
17   JULY 8, 2003                              MOTION TO DISMISS
18                                             PLAINTIFF’S COMPLAINT;
                 Plaintiff,                    MEMORANDUM OF POINTS AND
19                                             AUTHORITIES IN SUPPORT
20         vs.                                 THEREOF
21
     WILMINGTON SAVINGS FUND                   [FRCP Rule 12(b)(6) and (f)]
22   SOCIETY, FSB, d/b/a CHRISTIANA
23   TRUST, NOT INDIVIDUALLY BUT               [Request for Judicial Notice and
     AS TRUSTEE FOR HILLDALE                   Proposed Order Filed Concurrently]
24   TRUST; and DOES 1-10, Inclusive
25                                             Hearing
                 Defendants.                   Date: August 19, 2021
26
                                               Time: 1:30 p.m.
27                                             Ctrm: 400S (or TBD)
28

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 1          TO THE HONORABLE COURT AND TO ALL PARTIES AND
 2   THEIR ATTORNEYS OF RECORD, IF ANY:
 3          PLEASE TAKE NOTICE that on August 19, 2021, at 1:30 p.m., in
 4   Courtroom 400S (or TBD), of the above-entitled court, located at 1301 Clay
 5   Street, Oakland, California 94612, Defendant WILMINGTON SAVINGS FUND
 6   SOCIETY, FSB, d/b/a CHRISTIANA TRUST, NOT INDIVIDUALLY BUT AS
 7   TRUSTEE FOR HILLDALE TRUST (“WILMINGTON”) will move pursuant to
 8   Rule 12(b)(6) of the Federal Rules of Civil Procedure for an order dismissing all
 9   claims for relief in the Complaint. The grounds for the motion are:
10          1.     First Claim for Relief: Wrongful Foreclosure
11          Plaintiff KEYHAN MOHANNA, INDIVIDUALLY AND KEYHAN
12   MOHANNA, TRUSTEE OF THE KEYHAN MOHANNA REVOCABLE
13   TRUST DATED JULY 8, 2003 (“Plaintiff”) fails to state a claim because: (i) the
14   claim is barred by res judicata and/or collateral estoppel; (ii) the claim is time
15   barred; and (iii) Plaintiff otherwise fails to plead facts sufficient to state a claim
16   for relief.
17          2.     Second Claim for Relief: Wrongful Foreclosure - Violation of
18   U.C.C. § 3302
19          Plaintiff fails to state a claim because: (i) the claim is barred by res judicata
20   and/or collateral estoppel; (ii) the claim is time barred; and (iii) Plaintiff otherwise
21   fails to plead facts sufficient to state a claim for relief.
22   ///
23   ///
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 1         This Motion is based on this notice, the attached memorandum of points and
 2   authorities herein, the Request for Judicial Notice concurrently filed herewith, the
 3   Complaint, the Court’s record, and on WILMINGTON’s argument at the hearing.
 4
 5                                                 Respectfully submitted,
 6
                                                   WRIGHT, FINLAY & ZAK, LLP
 7
     Dated: July 9, 2021                       By: /s/ Todd E. Chvat
 8
                                                 Todd E. Chvat, Esq., Attorneys for
 9                                               Defendant, WILMINGTON
10                                               SAVINGS FUND SOCIETY, FSB,
                                                 d/b/a CHRISTIANA TRUST, NOT
11                                               INDIVIDUALLY BUT AS
12                                               TRUSTEE FOR HILLDALE TRUST
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 1                MEMORANDUM OF POINTS AND AUTHORITIES
 2                                    I. INTRODUCTION
 3         Plaintiff is the former owner of a six (6) unit converted condominium in San
 4   Francisco. This action concerns a non-judicial foreclosure sale on Unit #2 which
 5   occurred nearly three and a half years ago, on January 3, 2018, after Plaintiff had
 6   been in default on his mortgage loan for nearly nine (9) years. As detailed below,
 7   when Plaintiff’s loan went into foreclosure, along with his loans for the other units
 8   at the subject property, he engaged in a relentless scheme to frustrate creditors and
 9   interfere with lawful foreclosure sales. His efforts included numerous bankruptcy
10   petitions, adversary proceedings, and a barrage of meritless state and federal
11   lawsuits which have all resulted in dismissal.
12         In this action, Plaintiff asserts two causes of action for wrongful foreclosure
13   based on the allegation that WILMINGTON had no standing to foreclose because
14   “there was no legal or valid assignment of the mortgage debt obligation to
15   Defendant” and “Defendant was not the ‘beneficiary,’ ‘holder in due course,’ or a
16   ‘person entitled to enforce’ the mortgage debt obligation…” in violation of UCC
17   §3302. [Complaint, pg. 2:18-3:4, see also ¶7]. Plaintiff also contends that “the
18   mortgage loan obligation … was canceled on February 19, 2013.” [Complaint, pg.
19   3, ln. 14-20, see also ¶¶6-7]. Under this theory, Plaintiff claims that no foreclosure
20   sale could have occurred because the loan did not exist any longer. Id. As detailed
21   below, Plaintiff’s allegations are erroneous, unsupported, and fail as a matter of
22   law. More importantly, Plaintiff’s claims challenging standing to foreclose and
23   asserting a cancellation of the debt were already litigated and dismissed with
24   respect to Unit #2 in a prior state court proceeding filed by a purported successor in
25   interest to Plaintiff, as well as in prior state and federal actions filed in connection
26   with the other units at the subject property. Thus, Plaintiff’s action is barred by res
27   judicata and/or collateral estoppel. Lastly, Plaintiff’s action is time barred.
28         Accordingly, for reasons briefed fully below, the Court should dismiss
     Plaintiff’s Complaint without leave to amend.

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 1                            II.   STATEMENT OF FACTS
 2   A.    History of the Subject Loan and Plaintiff’s Attempted Property
 3         Transfer.
 4         On August 18, 2005, Plaintiff obtained a $704,000.00 mortgage loan (the
 5   “Loan”) from originating lender Countrywide Bank, FSB, secured by real
 6   property commonly known as 1405 Greenwich Street, Unit #2, San Francisco,
 7   California 94109 (the “Property”) through a Deed of Trust recorded on August 24,
 8   2005 (the “DOT”). [Request for Judicial Notice (“RJN”), Exhibit 1]. The Property
 9   is one of six condominium units located in a single building. This lawsuit
10
     concerns “Unit #2”. [Complaint, pg. 2:11-17]. Plaintiff defaulted on the Loan
11
     beginning in March 2009 and a Notice of Default was recorded on June 26, 2009.
12
     [RJN, Exhibit 2]. On March 1, 2010, Plaintiff filed for Chapter 13 Bankruptcy
13
     petition to delay foreclosure on multiple properties (USBK Northern District,
14
     Case No. 10-bk-30701) and a second Notice of Default was later recorded on
15
     February 7, 2012, again referencing the date of default beginning with the March
16
17   2009 payment. [RJN, Exhibit 3].

18         On April 2, 2012, Plaintiff’s petition was converted to a Chapter 7 and on
19   February 19, 2013, Plaintiff was discharged of personal liability on numerous
20   debts, including the Loan. [RJN, Exhibit 4]. In connection therewith, Plaintiff
21   erroneously alleges that, “[o]n February 19, 2013, Bank of America, canceled
22   Plaintiff’s mortgage debt obligation” and claims he received a 1099-C from Bank
23   of America shortly thereafter “evidencing the cancellation of debt.” [Complaint,
24   ¶4]. Plaintiff uses this erroneous contention to claim that the foreclosure sale was
25   unlawful as the debt no longer existed. [Complaint, ¶¶6-7, 13]. Besides the fact
26   that this argument is meritless as to be discussed, the February 19, 2013 Discharge
27
     Order itself clearly invalidates Plaintiff’s argument stating, “[h]owever, a creditor
28
     may have the right to enforce a valid lien, such as a mortgage or security interest,


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 1   against the discharged debtor’s property after the bankruptcy…” [RJN, Exhibit 4,
 2   pg. 2].
 3         On April 19, 2017, a Mechanic’s Lien was recorded against the Property in
 4   favor of Chih-Hong Hsu (“Hsu”) purportedly for work done to the Property and
 5   other units located in the same building in the amount of $476,543.25. [RJN,
 6   Exhibit 5]. On or about May 11, 2017, Hsu purportedly assigned all rights to the
 7
     Mechanic’s Lien to “1275 Sherkat-Eh-Shargh-Va-Gharb, a general partnership on
 8
     behalf of Alborz Fund Management III, a private holding entity” (the “Sherkat
 9
     Entity”). [RJN, Exhibit 6]. On May 23, 2017, Plaintiff, signing under an entity
10
     named “1405 Greenwich Street, HOA, a Trust”, purported to convey all interest in
11
     and to the Property and other units in the same building to the Sherkat Entity via a
12
     “Deed in Lieu of Foreclosure”. [RJN, Exhibit 7]. Thereafter, on or about July 25,
13
14   2017, the Sherkat Entity purportedly conveyed all title and interest in and to the

15   Property to “3H Renovation Services” by Grant Deed recorded on July 31, 2017.
16   [RJN, Exhibit 8]. On or about October 30, 2017, Plaintiff then purportedly leased
17   the Property, along with all other units in the building, with an option to buy from
18   3H Renovation Services pursuant to an alleged lease recorded on November 1,
19   2017. [RJN, Exhibit 9]. Although the lease was signed by “3H Renovation
20   Services,” it identifies Plaintiff as the “Lessor” and “KMInSTYLE Hospitality and
21   Transportation Services, LLC” as the Lessee. Id.
22        In 2017 the beneficial interest under the DOT was assigned to
23   WILMINGTON and an Assignment of the Deed of Trust was recorded on
24
     October 31, 2017. [RJN, Exhibit 10]. Fay Servicing, LLC was the servicer of the
25
     Loan and attorney-in-fact for WILMINGTON. As a result of Plaintiff’s
26
     continuing default on the Loan stemming from the March 2009 payment, a Notice
27
     of Trustee’s Sale was recorded on December 12, 2017, setting the foreclosure sale
28


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 1   for January 3, 2018. [RJN, Exhibit 11].1 The foreclosure sale went forward as
 2   scheduled on January 3, 2018 and WILMINGTON acquired title to the Property
 3   as the highest bidder via a Trustee’s Deed Upon Sale recorded on January 24,
 4   2018. [RJN, Exhibit 12]. On March 22, 2021, WILMINGTON, by and through its
 5   servicer and attorney-in-fact Fay Servicing, LLC, sold the Property to its current
 6   owner MM Club LLC. [RJN, Exhibit 13].
 7
     B.    Plaintiff’s Litigation Campaign Concerning Various Units At 1405
 8
           Greenwich Street.
 9
           In an effort to frustrate and interfere with multiple creditors, Plaintiff has
10
     embarked on a meritless litigation campaign stemming several years concerning
11
     the various Units at the Property which have all resulted in dismissal. Below is a
12
     summary of some of the known litigation filed by Plaintiff in connection with
13
14   1405 Greenwich Street:

15         1405 Greenwich Street, Other Units
16         On December 16, 2014, Plaintiff filed a lawsuit in San Francisco Superior
17   Court against Wells Fargo concerning Unit #1 asserting claims for quiet title,
18   wrongful foreclosure, and fraud, among others. [RJN, Exhibit 14]. Plaintiff’s
19   action against Wells Fargo asserted nearly identical standing allegations as those
20   appearing here contending Wells Fargo lacked standing to foreclose. Id. Wells
21   Fargo’s demurrer to Plaintiff’s first amended complaint was sustained without
22   leave to amend, and the court entered a final judgment dismissing the case with
23   prejudice. [RJN, Exhibits 15-16]. Later, in March 2016, Plaintiff commenced his
24
25
26   1
      In light of Plaintiff’s delay tactics, the foreclosure sale was delayed for multiple
     years and multiple Notices of Trustee’s Sale were recorded between 2010 through
27
     2017. However, for purposes of judicial economy, Defendant does not request
28   judicial notice of any prior Notice of Sale other than the operative December 12,
     2017 Notice.

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 1   second and third actions against Wells Fargo concerning Unit #1 in the United
 2   States District Court, Northern District of California, Case Numbers 4:16-cv-
 3   01035 and 4:16-cv-01036. However, Plaintiff dismissed both matters voluntarily
 4   in December 2016. [RJN, Exhibits 17-18].
 5         On September 14, 2016, Plaintiff filed an Adversary Complaint against
 6   HSBC Bank USA with respect to Unit #3, once again challenging standing to
 7
     foreclose and arguing that Bank of America “agreed to cancel all five loans on
 8
     1405 Greenwich Street, San Francisco.” [RJN, Exhibit 19, see ¶12]. This lawsuit
 9
     was dismissed for lack of jurisdiction on March 15, 2017. [RJN, Exhibit 20].
10
           In December 2017, after foreclosure sales were completed on Units #1 and
11
     #4, Plaintiff filed a fourth action involving Wells Fargo in San Francisco Superior
12
     Court. [RJN, Exhibit 21]. Similar to Plaintiff’s current action here, this complaint
13
14   against Wells Fargo again claimed wrongful foreclosure in that no standing to

15   foreclose existed and the debts pertaining to Units #1 and #4 had been cancelled.
16   Id. On July 11, 2019, the lawsuit was dismissed with prejudice after Plaintiff
17   failed to amend upon a successful demurrer. [RJN, Exhibit 22].
18         On May 1, 2018, Plaintiff then filed a lawsuit against Carrington Mortgage
19   Services, LLC and a different Wilmington Trust concerning Unit #5 in the United
20   States District Court, Northern District of California. [RJN, Exhibit 23]. This
21   lawsuit equally challenged defendants’ standing to foreclose and asserted debt
22   collection violations under the FDCPA and RFDCPA. [RJN, Exhibit 23, see page
23   10:27-28 (“Plaintiff alleges the NOD falsely represents that Defendants have the
24
     legal right and authority to proceed”)]. On November 1, 2018, Plaintiff’s lawsuit
25
     was dismissed and Judgment entered. [RJN, Exhibits 24-25]. In its Order
26
     granting defendants’ motion to dismiss, Judge William H. Orrick emphatically
27
     stated, “[t]his is the third time I have addressed plaintiff Keyhan Mohanna’s
28
     claims concerning the foreclosure of his condominium … his complaint provide[s]

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 1   no facts or reasons to support his claims that any of the deeds of trust were
 2   defective or why defendants lacked legal authority to foreclose on his Property. …
 3   This case has no merit and it is dismissed with prejudice.” [RJN, Exhibit 24, pg.
 4   1:13-26].
 5          1405 Greenwich Street, Unit #2 (The Subject Unit)
 6          On March 12, 2018, 3H Renovation Services (the entity that purportedly
 7
     held title to the Property via the Grant Deed recorded July 31, 2017 – see RJN,
 8
     Exhibit 8) filed a lawsuit concerning the Property (Unit #2) in San Francisco
 9
     Superior Court against WILMINGTON’s servicer and attorney-in-fact, Fay
10
     Servicing, LLC, as well as the DOT Trustee Zieve, Brodnax & Steele. [RJN,
11
     Exhibit 26]. After several demurrers, a second amended complaint was filed in
12
     February 2019 (the “2018 Lawsuit”). [RJN, Exhibit 27]. This 2018 Lawsuit
13
14   asserted multiple causes of action including wrongful foreclosure predicated on

15   the same exact claims as pled here that the Loan was forgiven or cancelled in
16   2013 and thus could not be foreclosed on, and defendants lacked standing to
17   foreclose. [RJN, Exhibit 26, see pg. 5-13, 17-18; Exhibit 27, see ¶¶15-17, 20, 23-
18   24, 27, 43, 49-50, 73, 77].
19          Defendants’ demurrer to the SAC was filed on March 29, 2019. [RJN,
20   Exhibit 28]. On May 1, 2019, the demurrer was sustained without leave to amend.
21   [RJN, Exhibit 29]. Thereafter, on August 6, 2019, Judgment was entered and the
22   2018 Lawsuit was dismissed with prejudice. [RJN, Exhibit 30].2
23   ///
24
25
26   2
      The foregoing summary does not represent nearly all of the cases filed by
     Plaintiff concerning 1405 Greenwich Street and the various foreclosures. In
27
     addition to these and other civil matters, Plaintiff filed bankruptcies in 2010, 2015,
28   2016 and 2018, United States Bankruptcy Court, Northern District of California,
     Case No.’s 10-30701, 15-31425, 16-30388, 18-30983, as well as adversary actions.

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 1                                    III.   ARGUMENT
 2         Plaintiff’s action asserts two separate causes of action for wrongful
 3   foreclosure premised on the same arguments that WILMINGTON did not have the
 4   right to foreclose on the Property because the Loan was cancelled/forgiven, and
 5   WILMINGTON had no right to foreclose because it was not a holder in due course
 6   of the note in violation of the Uniform Commercial Code. [Complaint, pg. 2-4,
 7   ¶¶3-4, 7-9, 12-30, 32-36]. These claims fail as a matter of law for multiple reasons.
 8   1.    Plaintiff’s Action is Barred by Res Judicata and/or Collateral Estoppel.
 9         The Doctrines of Res Judicata (claim preclusion) and Collateral Estoppel
10   (issue preclusion) ensure the finality of decisions. Where a dispute is between
11   private litigants and concerns private rights, there is no significant harm from
12   enforcing a rule that affords a litigant and their privy only one opportunity to
13   litigate an issue and there is no sound reason for burdening the courts with
14   repetitive litigation. Stendefer v. U.S., 447 U.S. 10, 24 (1980). Under Res
15   Judicata, “a final judgment on the merits bars further claims by parties or their
16   privies based on the same cause of action.” Brown v. Felsen 442 U.S. 127, 131
17   (1979) (citing Montana v. United States, 440 U.S. 147, 153 (1979).) Further, “[i]f
18   the second action is based on the same right or obligation, the cause of action is
19   the same even though different or additional relief is sought.” Carroll v. Puritan
20   Leasing Co., 77 Cal. App. 3d 481, 487 (1978) (citing Owl Drug Co. v. Bryant, 115
21   Cal. App. 2d 296, 302 (1953)).
22         “Collateral estoppel, like the related doctrine of res judicata, has the dual
23   purpose of protecting litigants from the burden of relitigating an identical issue
24   with the same party or his privy and of promoting judicial economy by preventing
25   needless litigation.” Parklane Hoisery Co., Inc. v. Shore, 439 U.S. 322, 326
26   (1979) (citing Blonder-Tongue Laboratories, Inc. v. University of Illinois
27   Foundation, 402 U.S. 313, 328-329 (1971)). The doctrine of Collateral Estoppel is
28   broader than the doctrine of Res Judicata, and “precludes relitigation of issues [as


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 1   opposed to causes of action] actually litigated and necessary to the outcome of the
 2   first action.” Parklane Hoisery Co., Inc. v. Shore, 439 U.S. 322, 326-327 (1979)
 3   (emphasis added). “It is settled that a final judgment on the merits…bars a later
 4   action …[of]…not only every issue raised in that action, but every issue that
 5   might have been raised.” Carroll v. Puritan Leasing Co., 77 Cal. App. 3d 481,
 6   486 (1978) (citing Olwell v. Hopkins, 28 Cal. 2d 147, 152 (1946)) (emphasis
 7   added); Dunkin v. Boskey, 82 Cal. App. 4th 171, 181 (2000); Costantini v. Trans
 8   World Airlines, 681 F.2d 1199, 1201 (9th Cir. 1982) (“the doctrine of res judicata
 9   (or claim preclusion) bar(s) all grounds for recovery which could have been
10   asserted, whether they were or not . . .’”).
11         In this case, with respect to the Property (Unit #2), the 2018 Lawsuit
12   asserted similar claims based on the same argument that no standing to foreclose
13   existed because the Loan had been cancelled or forgiven. [RJN, Exhibit 26, see pg.
14   5-13, 17-18; Exhibit 27, see ¶¶15-17, 20, 23-24, 27, 43, 49-50, 73, 77]. These are
15   the exact same type of allegations asserted here. [Complaint, pg. 2-4, ¶¶3-4, 7-9,
16   12-30, 32-36]. Although WILMINGTON was not a party to the 2018 Lawsuit, it
17   certainly was in privity with the named defendants given that it was the owner and
18   beneficiary of the Loan at the time. [RJN, Exhibit 10]. Namely, Fay Servicing,
19   LLC was a named defendant in the 2018 Lawsuit and as mentioned, Fay Servicing,
20   LLC was the servicer of the Loan and attorney-in-fact for WILMINGTON. [See
21   RJN, Exhibit 13 (Grant Deed executed by Fay Servicing, LLC as the “attorney-in-
22   fact” for WILMINGTON)]. As such, privity exists between WILMINGTON and
23   the defendants in the 2018 Lawsuit. Seymour v. Nationstar, 2020 U.S. Dist. LEXIS
24   27402, at *15 (E.D. Cal. 2020) (privity exists between a servicer and a loan/deed
25   of trust’s current and former beneficiaries).
26         And although Plaintiff was not the plaintiff in the 2018 Lawsuit, he is in
27   privity with 3H Renovation Services, the filing party. 3H Renovation Services was
28   the purported successor owner of the Property and the 2018 Lawsuit expressly


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 1   asserted claims referencing Plaintiff’s alleged communications with Bank of
 2   America and cancellation of the debt. Namely, paragraphs 16-17 of the second
 3   amended complaint in the 2018 Lawsuit alleged:
 4
 5        16. On February 9, 2013, after extensive negotiations between
          Keyhan Mohanna, the previous owner of Apt 2, and then servicer
 6        Bank of America’s Executive Office, (as successor to Countrywide
 7        Home Loans), Bank of America agreed to forgive and cancel all 5
          of the fraudulently-made Countrywide loans, including the one this
 8        Complaint is the subject of. … After years of negotiations with Bank
 9        of America’s executive office, Bank of America agreed to cancel and
          forgive the predatory loan as part of the Department of Justice
10
          Settlement Agreement. …
11
12        17. To confirm their forgiveness/cancellation, Bank of America
          issued an IRS tax form 1099-C and required Keyhan Mohanna to
13        report the cancelled debt on his tax returns, which he did, and
14        required him to make tax payments accordingly, which he did … .
15
     [RJN, Exhibit 27, ¶¶16-17].
16
           Accordingly, although Plaintiff was not the filing party in the 2018 Lawsuit,
17
     clear privity and an identity of interest existed between Plaintiff and 3H
18
     Renovation Services. After all, 3H Renovation Services expressly asserted claims
19
     based on Plaintiff’s dealings and Plaintiff’s contention that the Loan was forgiven
20
     or cancelled. [RJN, Exhibit 27, ¶¶16-17]. According to the Federal Circuit, “when
21
     one party is a successor in interest to another with respect to particular property,
22
     the parties are in privity … with respect to an adjudication of rights in the property
23
     that was transferred[.]” Power Integrations, Inc. v. On Semiconductor Corp., 396
24
     F. Supp. 3d 851, 875 (N.D. Cal. 2019). As evidenced in the 2018 Lawsuit, 3H
25
     Renovation Services was asserting alleged rights in the property which had
26
     transferred to it as the purported successor owner. Thus, privity exists between
27
     Plaintiff and 3H Renovation Services. Seymour v. Nationstar, 2020 U.S. Dist.
28


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 1   LEXIS 27402, at *15 (E.D. Cal. 2020) (holding that privity exists when the parties
 2   “ha[ve] the same legal right with respect to the subject matter involved”).
 3         Because the 2018 Lawsuit did in fact adjudicate and dispose of similar
 4   claims regarding standing to foreclose and the alleged debt cancellation, Plaintiff’s
 5   action here is barred by res judicata. To the extent that Plaintiff’s claims regarding
 6   erroneous “holder of the note” theories may not have been expressly set forth in
 7   the 2018 Lawsuit, they certainly could have rendering them barred by collateral
 8   estoppel. Carroll, supra; Costantini, supra.
 9         Additionally, although not expressly dealing with Unit #2, it is important to
10   note that Plaintiff’s other plethora of litigation involving the other units equally
11   asserted the same theories regarding standing to foreclose and debt cancellation.
12   Each of these actions were dismissed. [RJN, Exhibit 14-24]. In fact, these prior
13   litigations even implicated the subject Loan by claiming that Bank of America
14   “agreed to cancel all five loans on 1405 Greenwich Street, San Francisco.” [RJN,
15   Exhibit 19, see ¶12]. To this end, Plaintiff’s action here should equally be deemed
16   barred by res judicata and/or collateral estoppel given that he has repeatedly
17   asserted similar argument with respect to the other units which have equally
18   already been adjudicated.
19   2.    Plaintiff’s Action is Time Barred.
20         Even had Plaintiff’s claims not been previously litigated between the parties
21   or their privies, they are still fatally defective as each cause of action is time
22   barred. Plaintiff’s two causes of action for wrongful foreclosure are based on the
23   same argument that the January 3, 2018 foreclosure sale was unlawful as the debt
24   had allegedly been cancelled and WILMINGTON was not the beneficiary and
25   lacked standing to foreclose in violation of violation of U.C.C. §3302. [Complaint,
26   pg. 2-4, ¶¶3-4, 7-9, 12-30, 32-36]. Generally, the statute of limitations for
27   wrongful foreclosure is three years. California Code of Civil Procedure §338(a)
28   and (d). Further, “[u]nder California law, ‘the nature of the right sued upon, not the


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 1   form of action or the relief demanded, determines the applicability of the statute of
 2   limitations.’” Ancheta v. Mortg. Elec. Registration Sys., 2017 U.S. Dist. LEXIS
 3   47105, at *6 (N.D. Cal. 2017).
 4         Here, Plaintiff claims, “[t]he thrust of [this] case is that, as a result of
 5   fraudulent documents … [WILMINGTON] was not the true beneficiary or a real
 6   party in interest under the Deed of Trust having the … power of sale due to non-
 7   payment on the mortgage debt obligation.” [Complaint, pg. 3, ln. 5-13]. Plaintiff
 8   invokes fraud in alleging that WILMINGTON never had authority to foreclose and
 9   conspired to benefit “at the expense of Plaintiff by engaging in fraudulent
10   activities.” [Complaint, pg. 7:24-8:15]. Plaintiff also alleges that WILMINGTON
11   “misrepresented material information relating to the recorded documents.”
12   [Complaint, ¶19]. Because Plaintiff’s wrongful foreclosure claims sound in fraud,
13   they carry a three-year statute of limitations. Martinez v. JPMorgan Chase Bank,
14   N.A., 2016 U.S. Dist. LEXIS 47935, at *4 (N.D. Cal. 2016); Hatch v. Collins, 225
15   Cal. App. 3d 1104, 1110, 275 Cal. Rptr. 476 (1990) (wrongful foreclosure claim
16   based upon alleged fraudulent conspiracy between trustee and beneficiaries
17   covered by section 338(d)); Susilo v. Wells Fargo Bank, N.A., 796 F. Supp. 2d
18   1177, 1195 (C.D. Cal. 2011) (action to set aside wrongful foreclosure covered by
19   section 338(d) whether based on fraud, fraudulent conspiracy, or breach of
20   statutory duty).
21         As noted above, the foreclosure sale was conducted on January 3, 2018, and
22   the Trustee’s Deed recorded January 24, 2018. [RJN, Exhibit 12]. Plaintiff’s
23   lawsuit was not filed until May 2021, after the three-year statute had already
24   expired. Because a three-year statute of limitations applies to Plaintiff’s claims,
25   his action is time barred and fails as a matter of law. As a desperate means to avoid
26   this fatal defect, Plaintiff alleges that the statute of limitations should be tolled
27   because he “did not discover that Defendant was named as the foreclosing
28   beneficiary of his mortgage debt obligation until he reviewed the TDUS and


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 1   compared it with the Assignment of Deed of Trust and the SOT on Tuesday, May
 2   4, 2021.” [Complaint, ¶8]. This allegation is clearly insufficient. The Assignment
 3   recorded for the public record evidencing WILMINGTON’s ownership of the
 4   Loan was done on October 31, 2017 (RJN, Exhibit 10) and the Trustee’s Deed was
 5   recorded on January 24, 2018 (RJN, Exhibit 12). Thus, Plaintiff had all the
 6   pertinent information at his disposal in January 2018.
 7          It is well settled that “[i]n order to rely on the delayed discovery rule, a
 8   plaintiff must specifically plead facts showing (1) the time and manner of
 9   discovery and (2) the inability to have made earlier discovery despite reasonable
10   diligence.” Darringer v. Intuitive Surgical, 2015 U.S. Dist. LEXIS 101230, at *6-7
11   (N.D. Cal. 2015) (quoting Fox v. Ethicon Endo-Surgery, Inc., 35 Cal.4th 797, 808,
12   (2005)). “‘The burden is on the plaintiff to show diligence, and conclusory
13   allegations will not withstand’ a motion to dismiss.” Darringer, supra, at *9 (citing
14   E-Fab, Inc. v. Accountants, Inc. Servs., 153 Cal.App.4th 1308, 1319 (2007).
15   “[P]laintiffs are charged with presumptive knowledge of an injury if they have
16   information of circumstances to put [them] on inquiry or if they have the
17   opportunity to obtain knowledge from sources open to [their] supervision.”
18   Darringer, supra, at *9 (citing Fox, supra, at 807-08).
19          Here, Plaintiff has not and cannot possibly plead facts to establish any
20   entitlement to the delayed discovery rule. As mentioned, the Assignment of the
21   DOT to WILINGTON and the Trustee’s Deed deeding the Property to
22   WILMINGTON were recorded in October 2017 and January 2018 respectively.
23   Plaintiff was clearly aware of the foreclosure sale as demonstrated by his barrage
24   of lawsuits and the documents were recorded in the public record to which Plaintiff
25   no doubt had unfettered access to. As such, a tolling of the statute of limitations is
26   not available. Darringer, supra, at *6-7, 9; E-Fab, Inc., supra; Fox, supra.
27   ///
28   ///


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 1   3.    Plaintiff’s Two Wrongful Foreclosure Claims Fail as a Matter of Law.
 2         A claim for wrongful foreclosure requires: “(1) the trustee or mortgagee
 3   caused an illegal, fraudulent, or willfully oppressive sale of real property pursuant
 4   to a power of sale in a mortgage or deed of trust; (2) the party attacking the sale . . .
 5   was prejudiced or harmed; and (3) in cases where the trustor or mortgagor
 6   challenges the sale, the trustor or mortgagor tendered the amount of the secured
 7   indebtedness or was excused from tendering.” Miles v. Deutsche Bank
 8   National Trust Co., 236 Cal. App. 4th 394, 408 (2015); see also, Knapp v.
 9   Doherty, 123 Cal. App. 4th 76, 86 (2004) (foreclosures are presumptively valid
10   and challengers bear the burden of demonstrating improper procedure and resulting
11   prejudice). Plaintiff’s dual cause of action for wrongful foreclosure fail for
12   numerous reasons separate and apart from res judicata and statute of limitation
13   issues.
14         First, Plaintiff cannot allege sufficient facts to establish that WILMINGTON
15   lacked ownership of the Loan and DOT at the time of foreclosure. Plaintiff
16   contends that WILMINGTON had no interest in the Loan and “there are no
17   documents in the recorded chain of title to the Subject Property that leads to
18   Defendant WILMINGTON’s ownership of the mortgage debt obligation.”
19   [Complaint, ¶¶12-17, 20, 23-30, 32-36]. Yet, this allegation is clearly invalidated
20   by the Assignment recorded on October 31, 2017, prior to the foreclosure sale,
21   evidencing WILMINGTON’s beneficial interest in the DOT. [RJN, Exhibit 10].
22   Case law routinely rejects similar unfounded and unsupported claims. See Bascos
23   v. Fed. Home Loan Mortg. Corp., 2011 U.S. Dist. LEXIS 86248, *10-*16 (C.D.
24   Cal. July 22, 2011) (rejecting similar claims on the right to foreclose); Metzger v.
25   Wells Fargo Bank, N.A., 2014 U.S. Dist. LEXIS 59427, at *14-*16 (C.D. Cal.
26   2014). Applicable case law has also continued to reject boilerplate challenges to
27   the lender’s “standing.” See Lucioni v. Bank of America, N.A., 3 Cal.App. 5th 150,
28   161 (2016); Saterbak v. JPMorgan Chase Bank, N.A., 245 Cal.App.4th 808, 814-


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 1   816 (2016); Vasquez v. Bank of A., N.A., 2013 U.S. Dist. LEXIS 161244, at *9
 2   (N.D. Cal. 2013); Gomes v. Countrywide Home Loans, Inc., 192 Cal.App.4th 1149,
 3   1155 (2011), review denied (May 18, 2011), cert. denied, 132 S. Ct. 419, 181 L.
 4   Ed. 2d 287 (2011).
 5         Second, Plaintiff erroneously claims that “there is no evidence of a recorded
 6   Assignment of Note and delivery to …WILMINGTON.” [Complaint, ¶20]. Yet, it
 7   is well settled that WILMINGTON was not required to record an assignment of the
 8   Loan itself, i.e., the Note. Medina v. Wells Fargo Bank, N.A., 2014 U.S. Dist.
 9   LEXIS 66500, at *6 (C.D. Cal. May 14, 2014) (“Because Wells Fargo obtained
10   World Savings’ interests through that merger, no assignment of interest was
11   necessary.”); Fontenot v. Wells Fargo Bank, N.A., 198 Cal.App.4th 256, 272
12   (2011), disapproved on other grounds in Yvanova v. New Century Mortgage Corp.
13   (2016) 62 Cal.4th 919, 924 (“Plaintiff rests her argument on the documents in the
14   public record, but assignments of debt, as opposed to assignments of the security
15   interest incident to the debt, are commonly not recorded.” (emphasis added)). As
16   such, the allegation that no assignment of the Note was recorded does not raise any
17   arguable defect in the completed foreclosure. Ngoc Nguyen v. Wells Fargo Bank,
18   N.A., 749 F. Supp. 2d 1022, 1035 (N.D. Cal. 2010).
19         Third, Plaintiff also suggests that WILMINGTON had to have established it
20   was a “holder in due course” and/or a “person entitled to foreclose” in order to
21   foreclose under the DOT. [Complaint, ¶¶15-17, 20-30, 32-36]. Plaintiff claims that
22   “standing must be proved up by the Law of Assignments” and “evidence to such a
23   relationship” must be established. [Complaint, pg. 4, ln. 21-28]. Plaintiff is
24   mistaken. No obligation existed or exists for WILMINGTON to prove its
25   authority to act in order to foreclose. Nowhere within California Civil Code
26   section 2924 et al. is there a requirement that proof of a beneficial interest in the
27   note or an agency relationship with the note holder be given in order to non-
28   judicially foreclose. Debrunner v. Deutsche Bank National Trust Co. (2012) 204


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 1   Cal.App.4th 433, 441. The absence of such a requirement means that no such
 2   requirement exists. Moeller v. Lien, 25 Cal.App.4th 822, 834 (1994).
 3         As a result, Plaintiff’s theory that WILMINGTON must prove an interest in
 4   the Note or DOT is not founded in California law. Moreover, given that Plaintiff is
 5   the suing party here, it is his burden to establish that WILMINGTON lacked such
 6   authority, not WILMINGTON’s burden to prove otherwise. A borrower’s similar
 7   attempt to transfer this burden to the foreclosing entity was steadily invalidated in
 8   Yhudai v. IMPAC Funding Corp. (2016) 1 Cal.App.5th 1252, 1260 stating,
 9   “Yhudai, as the plaintiff challenging a nonjudicial foreclosure, has the burden to
10   prove it was wrongful.”.
11         Fourth, California courts have also routinely rejected the “holder in due
12   course” and/or splitting of the note arguments that Plaintiff seeks to advance. In
13   Debrunner, supra, at page 440, the appellate court held that “nothing in the
14   applicable statutes … precludes foreclosure when the foreclosing party does not
15   possess the original promissory note.” The court reasoned that since none of the
16   statutes “mandate physical possession of the underlying promissory note in order
17   for th[e] initiation of foreclosure to be valid,” imposing such a requirement would
18   contradict the purposes of the statutory scheme. Id. Likewise, in Shuster v. BAC
19   Home Loans Servicing, LP (2012) 211 Cal.App.4th 505, the appellate court
20   rejected a borrower’s “holder in due course” theory, stating “the Shusters also
21   contend that respondents had no right to foreclose because they were not the
22   ‘holder in due course’ of the promissory note, and that only WMC, as the original
23   holder of the note, had that right. They are incorrect.” Id. at 511. Plaintiff
24   advances the same “separation of the note” and “holder in due course” arguments
25   as in Debrunner and Shuster. As in those cases, Plaintiff’s similar arguments
26   equally fail here.
27         Fifth, Plaintiff’s claims fail as they are based on the erroneous allegation that
28   the Loan was cancelled on February 19, 2013 and thus the DOT unenforceable.


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 1   [Complaint, ¶¶3-5, 7-8, 13-14, 17, 27-28]. As mentioned above, Plaintiff’s
 2   argument relates to a discharge order he obtained in bankruptcy, and Plaintiff
 3   misinterprets that discharge to mean that the DOT securing the Loan was
 4   extinguished as well. [RJN, Exhibit 4]. This is not the case. It is well settled that
 5   when a borrower files a personal bankruptcy and receives a discharge of liability
 6   for debts, the lien of a valid secured obligation survives and the creditor can
 7   foreclose on the property security after any applicable stay is dissolved. In re
 8   Cortez (1995 9th Cir. BAP) 191 B.R. 174, 177. Thus, upon Plaintiff’s discharge
 9   and termination of any automatic stay provisions, WILMINGTON was entitled, as
10   a matter of law, to move forward with nonjudicial foreclosure proceedings under
11   the DOT even though Plaintiff’s personal liability on the Loan was discharged. Id.
12   Moreover, even the discharge order itself confirmed the same, stating, “a creditor
13   may have the right to enforce a valid lien, such as a mortgage or security interest,
14   against the discharged debtor’s property after the bankruptcy…” [RJN, Exhibit 4,
15   pg. 2].
16         In connection with Plaintiff’s erroneous argument, he also claims that he
17   received a 1099-C Cancellation of Debt notice from Bank of America thereby
18   “evidencing the cancellation of debt.” [Complaint, ¶4]. Plaintiff again uses this
19   erroneous contention to claim that the foreclosure sale was unlawful as the debt no
20   longer existed. [Complaint, ¶¶6-7, 13]. Yet, a 1099-C on its face, does not reflect a
21   forgiveness of the Loan. Instead, a 1099-C would have been issued because
22   Plaintiff was discharged of personal liability on the Loan as part of his Bankruptcy
23   proceedings. [RJN, Exhibit 4]. In fact, the IRS requires issuance of 1099-C where,
24   as here, the debt at issue is associated with an investment property, which was
25   discharged as part of a bankruptcy. 26 C.F.R. 1.6050P-1(a) (“any applicable entity
26   … that discharges an indebtedness of any person … of at least $600 during a
27   calendar year must file an information return on Form 1099-C with the Internal
28   Revenue Service.”). Accordingly, any 1099-C issued by Bank of America was


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 1   done merely a result of Plaintiff’s discharge, and certainly did not establish the
 2   Loan and DOT were forgiven and released.
 3         Sixth, Plaintiff has not alleged resulting prejudice. Knapp, supra, 123 Cal.
 4   App. 4th 76, 86 (2004). Plaintiff concedes the Loan was in severe default “[a]fter
 5   falling behind in payments due to the financial crash in 2008” and does not assert
 6   any facts to establish that he could have been able to avoid the completed
 7   foreclosure sale. Judicially noticeable facts demonstrate that WILMINGTON was
 8   the beneficiary of the Loan and DOT at the time (RJN, Exhibit 10) and Plaintiff’s
 9   Loan had been in default for nearly a decade (RJN, Exhibit 3 – noting default
10   beginning with the March 2009 payment). Because the foreclosure sale was
11   inevitable and there was no resulting prejudice, Plaintiff’s wrongful foreclosure
12   claims must fail.
13         Lastly, Plaintiff’s second wrongful foreclosure cause of action contends that
14   WILMINGTON violated the Uniform Commercial Code because it was not a
15   “holder in due course” and did not take the “mortgage debt obligation in good
16   faith” or “for value”. [Complaint, ¶¶32-36]. Identical claims have been described
17   as “frivolous” because the UCC does not apply to nonjudicial foreclosures. Usher
18   v. Greenpoint Mortg. Funding, Inc., 2010 U.S. Dist. LEXIS 127311, *25 (E.D.
19   Cal. 2010). As held in Debrunner, supra, at 440-441, “reliance on the California
20   Uniform Commercial Code provisions pertaining to negotiable instruments is
21   misplaced. The comprehensive statutory framework established [in Cal Civ. Code
22   §§ 2924 to 2924k] to govern nonjudicial foreclosure sales is intended to be
23   exhaustive. Because of the exhaustive nature of this scheme, California appellate
24   courts have refused to read any additional requirements into the non-judicial
25   foreclosure statute.” Koenig v. Bank of Am., N.A., 2016 WL 8731110, at *2 (E.D.
26   Cal. Mar. 18, 2016), aff'd, 714 F. App'x 715 (9th Cir. 2018), and aff'd, 714 F.
27   App'x 715 (9th Cir. 2018) (“Regarding the first argument, the requirements for
28


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 1   holder in due course status is set out in Cal. U. Com. Code § 3302 but that
 2   provision is not applicable to non-judicial foreclosure.”).
 3         For each of the reasons set forth above, Plaintiff’s Complaint fails as a
 4   matter of law and the Court should dismiss this lawsuit without leave to amend.
 5                                  IV.    CONCLUSION.
 6         Under the circumstances, leave to amend would be futile. Frank v. Schultz,
 7   2013 WL 4807171, at *3 (C.D. Cal. 2013) (“if amendment of the pleading would
 8   be futile, leave to amend may be denied.”). Not only are Plaintiff’s claims barred
 9   by res judicata, collateral estoppel, and the statute of limitations, they are otherwise
10   legally erroneous, fail as a matter of law, and fatally defective. In light of these
11   incurable pleading deficiencies, the Court should grant this motion to dismiss
12   without leave to amend. Amerisource Bergen Corp. v. Dialysist West, Inc., 465
13   F.3d 946, 951 (9th Cir. 2006); Bowles v. Reade, 198 F.3d 752, 757 (9th Cir. 1999).
14
15                                                  Respectfully submitted,
16
                                                    WRIGHT, FINLAY & ZAK, LLP
17
     Dated: July 9, 2021                         By: /s/ Todd E. Chvat
18
                                                   Todd E. Chvat, Esq., Attorneys for
19                                                 Defendant, WILMINGTON
20                                                 SAVINGS FUND SOCIETY, FSB,
                                                   d/b/a CHRISTIANA TRUST, NOT
21                                                 INDIVIDUALLY BUT AS
22                                                 TRUSTEE FOR HILLDALE TRUST
23
24
25
26
27
28


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 1                                    PROOF OF SERVICE
 2         I, Jovete Elguira, declare as follows:
 3         I am employed in the County of Orange, State of California. I am over the age of
     eighteen (18) and not a party to the within action. My business address is 4665
 4
     MacArthur Court, Suite 200, Newport Beach, California 92660. I am readily familiar
 5   with the practices of Wright, Finlay & Zak, LLP, for collection and processing of
     correspondence for mailing with the United States Postal Service. Such correspondence
 6
     is deposited with the United States Postal Service the same day in the ordinary course of
 7   business. I am aware that on motion of party served, service is presumed invalid if postal
     cancellation date or postage meter date is more than one day after date of deposit for
 8
     mailing in affidavit.
 9
           On July 12, 2021, I served the within NOTICE OF MOTION AND MOTION
10   TO DISMISS PLAINTIFF’S COMPLAINT; MEMORANDUM OF POINTS AND
     AUTHORITIES IN SUPPORT THEREOF on all interested parties in this action as
11
     follows:
12
           Keyhan Mohanna
13         1405 Greenwich Street, Apt. #2
           San Francisco, CA 94109
14
           Plaintiff in Pro Se
15   [X]   (BY MAIL SERVICE) I placed such envelope(s) for collection to be mailed on
16         this date following ordinary business practices.
17   [ ]   (BY OVERNIGHT- NEXT DAY DELIVERY) I placed true and correct copies
           thereof enclosed in a package designated by FedEx Overnight with the delivery
18         fees provided for.
19   [ ]   (BY ELECTRONIC MAIL) To the following e-mail: Keyhan6@yahoo.com
20   [X]   (FEDERAL) I declare under penalty of perjury under the laws of the United States
21         of America that the foregoing is true and correct.
           Executed on July 12, 2021, at Newport Beach, California.
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                                      PROOF OF SERVICE
